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 7
                             UNITED STATES DISTRICT COURT
 8
                                        DISTRICT OF ARIZONA
 9
     United States of America,                      No.    (:.Q,-d-'J.-0~ DS-4-0i -?LT -L~..B
10
                           Plaintiff,                            INFORMATION
11
12            vs.                                   VIO:      21 U.S.C. § 844(a)
                                                              (Unlawful Possession of a
13                                                            Controlled Substance -
     Matthew Christopher Riser,                               Class A Misdemeanor)
14                                                            Count 1
15                         Defendant.                         36 C.F.R. §§ 261.52(a)
16                                                            (Use Prohibited Fire-
                                                              Class B Misdemeanor)
17                                                            Count 2
18                                                            36 C.F .R. § 261. lO(b)
                                                              (Occupy or Use National Forest
19                                                            Lands as a Residence -
20                                                            Class B Misdemeanor)
                                                              Count 3
21
22
23   THE UNITED STATES OF AMERICA CHARGES:

24                                            COUNT 1
25          On or about June 12, 2022, in Coconino County, in the District of Arizona, the
26   defendant, MATTHEW CHRISTOPHER RISER, did knowingly, intentionally, and
27   unlawfully possess a controlled substance, that being marijuana, a Schedule I controlled
28   substance, in violation of Title 21 , United States Code, Section 844(a).
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 1                                           COUNT2
 2          On or about June 12, 2022, in Coconino County, in the District of Arizona, in the
 3   Coconino National Forest, an area within the National Forest System, the defendant,
 4   MATTHEW CHRISTOPHER RISER, did unlawfully build, maintain, attend or use a fire
 5   at a time when fires were prohibited, in violation of Title 36, Code of Federal Regulations,
 6   Sections 261.52(a).
 7                                           COUNT3
 8          On or about June 12, 2022, in Coconino County, in the District of Arizona, in the
 9   Coconino National Forest, an area within the National Forest System, the defendant,
10   MATTHEW CHRISTOPHER RISER, did occupy or use National Forest Service lands as
11   a residence, in violation of Title 36, Code of Federal Regulations, Section 261.l0(b).
12

13   June 13 , 2022                                   GARYM. RESTAINO
14                                                    United States Attorney
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18                                                    Assistant U.S. Attorney
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